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IN UNITED STATES DISTRICT COURT
FOR THE DISTRICT O_F MASSACHUSETTS

 

In re Application of GEORGE W. SCHL[Cl-l
for Order to Tako Disoovery Pursuant to Case No. l:16-mc-91273
23 U.s.C. § 1732

Applicant

 

 

ORDER TO SHOW CAUSE WHY GEORGE W. SCHLICH
SHOULD NOT BE GRANTED LEAVE TO CONDUCT DISCOVERY FOR USE IN
FOREIGN PROCEEDINGS

George W. Schlich (“Schlich” or “Appllcant”) submitted an Application for an Order
Pursuant to 28 U.S.C. § 1732 to Conduct Discovery for Use in Foreign Prooeedings (“Petition“)
on Septernber 2, 2016. By its Petition, Applicant seeks discovery from The Broad Institute, Inc.,
Feng Zhang, Naomi Habib, and Le Cong {eollpcti\rely “Respondents”).

The Court has considered the evidence, arguments, and law presented, and sufficient
reason appearing, the Court rules as follows It is hereby:

ORDERED that Applicant shall serve Respondents by hand, facsimile, or e-mail with the
Petition and this Order no later than 5:00 p.m. on September g 2016; and

ORDER_ED that papers in ol;ptisitiol;to the Petition (including any objections to the
proposed subpoenas attached to the Petition as Exhibits 1-?), ifany, shall be served by hand,
facsimile, or e-mail 14 days after service of the Petition; and

ORDER_E.D that a reply memorandum in support of the Petition (and proposed
subpoenas], if any, shall be served by hand, facsimile, or e-rnail upon counsel for any party
submitting opposing papers; and

ORDERED that Respondents show{r;ause beforp this Court at a hearing on

Ocl'Dbu’ ZLi 20!6 at iUDM, why an order should not be issued granting Applicant’s

 

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Pctition and requiring the requested discovery take place.

IT IS SO ORDERED

Dared: §m£-c€, Z#’/@/ ,2016 M`/
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L'h`iited States District Judge

 

